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 7

 8
                                   UNITED STATES DISTRICT COURT
 9
                                NORTHERN DISTRICT OF CALIFORNIA
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11
     GEMNAIKA FLORES, individually and on           Case No.
12   behalf of all others similarly situated,

13                         Plaintiff,               CLASS ACTION COMPLAINT

14          v.
                                                    JURY TRIAL DEMANDED
15   PHILIPPINE AIRLINES, INC. and PAL
     HOLDINGS, INC.
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                           Defendants.
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
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 1          Plaintiff Gemnaika Flores (“Plaintiff”) brings this action on behalf of herself and all others

 2   similarly situated against Philippine Airlines, Inc. and PAL Holdings, Inc. (collectively,

 3   “Defendants” or “PAL”). The allegations here are based on personal knowledge as to Plaintiff’s

 4   own conduct and are made on information and belief as to all other matters based on investigation

 5   by counsel.

 6                                      NATURE OF THE ACTION

 7          1.      This is a class action lawsuit regarding Defendants’ failure to provide full refunds to

 8   customers whose flights were cancelled or were subject to a significant schedule change and not

 9   refunded as a result of the COVID-19 (“coronavirus”) pandemic.

10          2.      Given the outbreak of the coronavirus, PAL have cancelled a vast percentage of

11   their international and U.S. flights. However, PAL have refused to issue refunds for flights that

12   they cancelled or significantly altered.      PAL’s inexplicable and continuous withholding of

13   passengers’ refunds stands in direct contravention of their Contract of Carriage as well as other

14   representations made to passengers, which are set out more fully below.

15          3.      PAL’s treatment of Plaintiff is no exception. On December 17, 2019, Plaintiff

16   purchased two roundtrip tickets departing on April 22, 2020, from San Francisco to Manila, the

17   Philippines for $1,356.08. However, on April 5, 2020, PAL cancelled Plaintiff’s flights. Plaintiff

18   immediately attempted to secure a voucher. But after realizing that she would be unable to fly

19   during the COVID-19 pandemic, Plaintiff requested that PAL issue her a refund. On July 30,

20   2020, Plaintiff received a confirmation email from a PAL representative, Cecilia A. Murillo, that

21   her refund request had been filed and that she should “allow 3-6 months processing.”

22          4.      After nearly six months, Plaintiff emailed Ms. Murillo on December 10, 2020 to

23   request the status of her refund. Ms. Murillo responded on December 10, 2020 stating that “[a]ll

24   refunds are being handled by our head office” and that Plaintiff should allow for additional

25   processing.

26          5.      On December 29, 2020, Plaintiff sent an additional email to Ms. Murillo requesting

27   an update. Ms. Murillo responded on December 30, 2021, stating that she “sent follow up today”

28   and that Plaintiff should continue to be patient.


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 1          6.      On January 18, 2021, Plaintiff sent another email requesting the status of her refund.

 2   Ms. Murillo responded, simply stating that she would “follow up today.” But Plaintiff did not

 3   receive a follow up. Instead, on March 3, 2021, Plaintiff emailed asking for another update. On

 4   March 9, 2021, Ms. Murillo responded that “all refunds are being handled by our head office.”

 5   Plaintiff called on March 14, 2021, March 16, 2021, twice on March 22, 2021, on April 6, 2021,

 6   twice in June 2021, and twice in July 2021. Each time Plaintiff was placed on hold, forcing

 7   Plaintiff to wait approximately one hour before her concerns were considered. However, none of

 8   these efforts were successful.

 9          7.       All told, Plaintiff sent a total of 8 emails and called 10 times.             PAL’s

10   representations to Plaintiff never materialized.    Instead, PAL led Plaintiff, like others similar

11   situated, through a test of exhaustion. As this Complaint will demonstrate, PAL breached both

12   their Contract of Carriage as well as subsequent representations to its consumers who desperately

13   sought a refund amidst a global pandemic and economic recession. In doing so, PAL inexplicably

14   refused to issue refunds for Plaintiff and Class Members.

15                                                PARTIES

16          8.      Plaintiff Gemnaika Flores is, and at all times relevant to this action has been, a

17   citizen of California and a resident of Union City, California.

18          9.      Defendant Philippine Airlines, Inc. is a business organized under the laws of the

19   Philippines and maintains its Executive Office at 8/F PNB Financial Center, Macapagal Avenue, in

20   Pasay City, National Capital Region 1307, the Philippines. Defendant also maintains its principal

21   place of business in the U.S. at 1350 Bayshore Highway, Suite 150, Burlingame, California 94010.

22          10.     Defendant PAL Holdings, Inc. is a holding company and parent of Philippine

23   Airlines, Inc. PAL Holdings is organized under the laws of the Philippines and maintains its

24   Executive Office at 7th Floor Allied Bank Center, 6754 Ayala Avenue, Makati 1200, the

25   Philippines. PAL Holdings is also organized under the laws of the State of Delaware as File

26   Number 3329654.       PAL Holdings maintains a Registered Agent, called Delaware Corporate

27   Agents, Inc., located at 4405 Tennyson Road, Wilmington, Delaware, 19802.

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 1                                     JURISDICTION AND VENUE

 2          11.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

 3   1332(d) because there are more than 100 class members and the aggregate amount in controversy

 4   exceeds $5,000,000.00, exclusive of interest, fees, and costs, and at least one Class member is a

 5   citizen of a state different from Defendants.

 6          12.     This Court has personal jurisdiction over Defendants because Defendants

 7   purposefully availed themselves of this forum by conducting substantial business within California

 8   such that Defendants have significant, continuous, and pervasive contacts with the State of

 9   California. Defendants also operate multiple offices throughout California and are registered with

10   the California Secretary of State as maintaining an office located at 1350 Bayshore Highway, Suite

11   150, Burlingame, California 94010.

12          13.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Defendants do

13   substantial business in this District and a substantial part of the events giving rise to Plaintiff’s

14   claims took place within this District, as Plaintiff Flores purchased her ticket in this District and

15   resides in this District. And as noted above, Defendants are registered as operating an office in

16   Burlingame, California.

17                                       FACTUAL ALLEGATIONS

18                                       PAL’s Contract of Carriage

19          14.     PAL’s refusal to refund customers violates their Contract of Carriage (“COC”),

20   attached as Exhibit A.1 Specifically, this dispute is governed by Article 10 of PAL’s COC.

21   Article 10, Section 1 provides that the “[r]efund of a Ticket or any of its unused portion . . . shall be

22   subject to these Conditions of Carriage.”

23          15.     Article 10, Section 2, entitled “When To File For Refund And To Whom Refund

24   Will Be Made,” sets out many of the terms relevant to this action. The relevant portion provides

25   that “[r]efund of a Ticket or any of its unused portion, including taxes, fees, and or any other

26   amount collected on behalf of any third party, shall be applied with PAL within the period of the

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     1
      The Contract of Carriage attached to this complaint was in place at the time Plaintiff purchased
28   her tickets.


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 1   validity of the Ticket and thirty (30) days thereafter.” Further, “[e]xcept as provided in this Article,

 2   refund shall be made either to the Passenger, or to the person who has paid for the Ticket upon

 3   presentation of satisfactory proof of entitlement to the refund.”

 4          16.     Section 2 further provides that “[a] refund made to anyone holding himself or

 5   herself out as a person to whom refund may be made in terms of (a) above shall be deemed a

 6   proper refund and shall discharge PAL from liability and any further claim for refund.”

 7   Additionally, “[i]f the credit card is not under Passenger’s account name, Passenger warrants that

 8   he/she and the credit card holder both agreed that: 1) either the Passenger or credit card holder may

 9   apply for online refund; and 2) the refund will automatically be charged back to the credit card

10   account originally used.”

11          17.     These terms are complemented by Article 10, Section 3 entitled “Involuntary

12   Refund” which states that “[i]f PAL cancels a flight, or fails to operate a flight reasonably

13   according to schedule, or fails to stop at a point to which you were destined or ticketed to Stopover,

14   or is unable to provide previously confirmed space, the amount of the refund shall be subject to

15   these Conditions of Carriage” as well as “PAL’s Tariffs, and applicable laws, rules, and

16   government regulations.”

17          18.     Article 10, Section 4 entitled “Voluntary Refunds” further provides that “[i]f you

18   are entitled to a refund of your Ticket or any of its unused portion, including taxes, fees, or any

19   other amount collected for or on behalf of any third party, for reasons other than those set out in

20   Section 3 of this Article, the amount of the refund shall be in accordance with PAL’s Tariffs.”

21          19.     As the terms of the COC make clear, refunds are to be issued to consumers for both

22   voluntary and involuntary cancellations.

23                                   DOT Guidance Supplies Reasonable Terms

24          20.     The COC does not reference the length of time in which PAL shall have to issue

25   refunds to consumers. But as described below, reasonable terms should be supplied in accordance

26   with well-established principles governing contract interpretation. In supplying reasonable terms,

27   one area to consider is the U.S. Department of Transportation’s (“DOT”) Enforcement Notice on

28   related matters.


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 1           21.     The DOT has declared that “in the context of the 2019 Novel Coronavirus (COVID-

 2   19) public health emergency, that U.S. and foreign airlines remain obligated to provide a prompt

 3   refund to passengers for flights to, within, or from the United States when the carrier cancels the

 4   passenger’s scheduled flight or makes a significant schedule change and the passenger chooses not

 5   to accept the alternative offered by the carrier.” 2

 6           22.     The DOT further counsels that “[t]he obligation of airlines to provide refunds,

 7   including the ticket price and any optional fee charged for services a passenger is unable to use,

 8   does not cease when the flight disruptions are outside of the carrier’s control (e.g., a result of

 9   government restrictions).”

10           23.     On May 12, 2020, the DOT issued a Second Enforcement Notice, stating in

11   pertinent part that “airlines have an obligation to provide a refund to a ticketed passenger when the

12   carrier cancels or significantly changes the passenger’s flight, and the passenger chooses not to

13   accept an alternative offered by the carrier.”3 The DOT explained that “[f]or airlines, ‘prompt’ is

14   defined as being within 7 business days if a passenger paid by credit card, and within 20 days if a

15   passenger paid by cash or check.”4

16           24.     The DOT Enforcement Notices are not merely guidance documents but are based on

17   provision of the Code of Federal Regulations, which are cited explicitly in the DOT Second

18   Enforcement Notice.

19           25.     For the sake of clarity, it is important to reiterate that the DOT’s guidance is offered

20   here for the sole purpose of considering omitted terms such as the length of time PAL consumers

21   must wait for a refund. Courts have made clear that plaintiffs can sustain causes of action for

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     2
        DEP’T OF TRANSP., U.S. DEPARTMENT OF TRANSPORTATION ISSUES ENFORCEMENT NOTICE
24   CLARIFYING AIR CARRIER REFUND REQUIREMENTS, GIVEN THE IMPACT OF COVID-19 (Apr. 3,
     2020),           https://www/transportation.gov/briefing-room/us-department-transporation-issues-
25   enforcement-notice-clarifying-air-carrier-refund (hereinafter “DOT Notice”) (emphasis added).
     3
       DEP’T OF TRANSP., FREQUENTLY ASKED QUESTIONS REGARDING AIRLINE TICKET REFUNDS GIVEN
26   THE UNPRECEDENTED IMPACT OF THE COVID-19 PUBLIC HEALTH EMERGENCY ON AIR TRAVEL 1
     (May       12,     2020),     https://www.transportation.gov/sites/dot.gov/files/2020-05/Refunds-
27   %20Second%20Enforcement%20Notice%20FINAL%20%28May%2012%202020%29.pdf
     (hereinafter “DOT SECOND NOTICE”).
28   4
       Id. (emphasis added).


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 1   breach of contract in the absence of the DOT’s guidance. 5 As the court determined in Herrera v.

 2   Cathay Pac. Airways Ltd., “implicit in the Supreme Court’s opinion in Wolens[6] is that courts

 3   would remain free to use general principles of contract law to interpret parties’ agreements without

 4   running afoul of the [Airline Deregulation Act].” No. 20-CV-03019-JCS, 2021 WL 673448 (N.D.

 5   Cal. Feb. 21, 2021). In Herrera, the court also cited Cox v. Spirit Airlines, Inc., where it was

 6   determined that “[u]nder Wolens, routine contract claims may proceed, which necessarily required

 7   employing tools of contractual interpretation.” Id. at 10 (citing 786 F. App’x at 285). The DOT’s

 8   guidance is supplied for this purpose.

 9                                     PAL’s Representations To Consumers

10          26.     Another area to consider for supplying reasonable terms is PAL’s various

11   representations to their consumers.      PAL’s refusal to issue refunds runs contrary to several

12   representations made to passengers in connection with coronavirus-related cancellations.

13          27.     A consumer visiting PAL’s website at the height of the pandemic would have

14   encountered multiple representations informing them that “passengers whose flights are affected by

15   COVID-19 cancellations . . . may avail of the following options even after the enhanced

16   community quarantine period or after your flight schedule:”

17          1. Rebook or reroute to a later date:
18                a. Unlimited (no rebooking fee)
                  b. For first rebooking: No fare difference on the same cabin class. Travel date must
19                   be on or before November 30, 2020 or ticket validity, whichever comes first
                     (with blackout dates for United States and Canada).
20                c. For rebookings: Ticket must be on the original booking class and
                     travel date must be within original ticket validity. Fare difference, taxes, and no
21                   show fees may be collected.
22                d. For rerouting, fare difference and taxes may also be collected.

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     5
       See Bugarin v. All Nippon Airways Co., No. 20-CV-03341-BLF, 2021 WL 175940, at *9 (N.D.
24   Cal. Jan. 19, 2021) (“The Contract Claim is Not Preempted”); Herrera v. Cathay Pac. Airways
     Ltd., No. 20-CV-03019-JCS, 2021 WL 673448 (N.D. Cal. Feb. 21, 2021) (“Implicit in the Supreme
25   Court’s opinion in Wolens is that courts would remain free to use general principles of contract law
     to interpret parties’ agreements without running afoul of the ADA.”); Ide v. Brit. Airways PLC,
26   No. 20-CV-3542 (JMF), 2021 WL 1164307, at *6 (S.D.N.Y. Mar. 26, 2021) (“In short, applying
     well-established principles of contract law, the Court concludes that the . . . Plaintiffs bring a
27   plausible breach-of-contract claim based on British Airway’s failure to provide them with
     refunds.”).
28   6
       Am. Airlines, Inc. v. Wolens, 513 U.S. 219, 232, 115 S. Ct. 817, 825, 130 L. Ed. 2d 715 (1995).


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 1          2. Convert the unused value of their ticket to a voucher for future use. For involuntary
               changes, the Travel Voucher is equivalent to the unused value of your ticket plus an
 2             additional 10% of the unused base fare. This benefit is available only among passengers
               who have not made previous changes to their booking. The additional 10% value is
 3
               non-refundable. Click here to know more about Travel Voucher.
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            3. Refund their tickets without penalties. Due to the high volume of requests and
 5             limitations from the Enhanced Community Quarantine in the Philippines, there may be
               some delays in processing of refunds. For tickets purchased using credit card, Alipay,
 6             Gcash, Paypal, and Wechat Pay, the amount will be credited back to the account used
 7             at around 90 banking days (or an average of 2-3 billing cycles) from the date of
               processing.
 8   (emphasis added).
 9          28.    Consumers also would have seen PAL’s representations informing them that they
10   have “[n]o need to worry” and that they can secure their refunds from “the comfort and safety of
11   [their] own home.” One such representations is as follows:
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                   7
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 1          29.    In accordance with PAL’s representation, a consumer who wished to submit their

 2   rebooking or to request a travel voucher or refund would scan the QR code or visit the hyperlink as

 3   set out by PAL. The consumer would then proceed to the following page:

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25          30.    As set out in PAL’s myPAL Request Hub information sheet, consumers who

26   desired a refund could complete their request following “3 easy steps: fill up the form[,] click

27   SUBMIT[,] and receive a confirmation via email.”

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 1         31.   The form referred to above is as follows:

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 1          32.     Once the consumer completed this form, they would then proceed to the following

 2   page setting out their options:

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26          33.     Under the option for refunds, PAL represents that “processing of refunds may take 3
27   to 4 months from lifting of enhanced community quarantine.” This is distinct from PAL’s previous
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 1   representation as set out above that “the amount will be credited back to the account used at around

 2   90 banking days (or an average of 2-3 billing cycles) from the date of processing.”

 3           34.    A consumer who selected the refund option would then proceed to the following

 4   page:

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25           35.    PAL again represents that “the processing of refunds through myPAL Request Hub

26   will take: 3 months or 3 billing cycles for credit card, depending on your bank’s turnaround times.”

27   PAL also informs consumers that their refund may take “3 to 5 months for cash refunds.”

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 1          36.     Once consumers completed their refund request, PAL then sent them an email

 2   substantially similar to the following:

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21          37.     At this point, PAL represents for the first time that consumers should allow a

22   minimum of five months from the date the refund was processed for the refund to be credited back

23   to the account used.

24          38.     However, as Plaintiff’s experience and the consumer complaints below demonstrate,

25   PAL has not honored the terms of the COC or any of their subsequent representations to

26   consumers.

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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                12
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 1                Consumer Complaints Regarding PAL’s Refusal To Honor Their Refund Policy

 2          39.     Numerous consumer reports and complaints demonstrate that any condition

 3   precedent for obtaining a refund has been excused, and that PAL has not honored their refund

 4   policy. On March 17, 2020, one consumer, for example, submitted a report to the Better Business

 5   Bureau (“BBB”) concerning PAL’s lack of responsiveness. The consumer stated that “Philippine

 6   Airlines USA customer service line . . . is non[-]responsive amid [C]void[-]19.” The consumer

 7   reported that “when I try calling Philippine Airlines customer service . . . the whole day, night of

 8   [March 12, 2020] and morning of [March 13, 2020], and many times the calls disconnect or [are]

 9   busy when you call.” The consumer stated that “if you get connected you are placed on hold for

10   hours with no answer or assistance.” The consumer even tried an alternative method of reaching

11   the Airline: “At one point, I tr[ied] the other option called Mabuhay Miles on the same customer

12   service [number and] a customer service person answer[s] right away[.] [H]owever, they won’t

13   help . . . they will transfer you to the booking line option that place[s] you on hold for hours with

14   no response.” PAL was informed of this complaint and although PAL responded to the complaints

15   directly preceding and succeeding this complaint, PAL never responded to this consumer’s

16   complaint.

17          40.     Another consumer reported to the BBB on May 20, 2020 that the Philippine Airlines

18   “just sent me an email informing me that the flight was cancelled. I tried to rebook to the next

19   available flight . . . but was asked to pay for a business class ticket, which according to them was

20   the last available seat.” The consumer stated that “I purchased the ticket just to be able to fly back

21   home because my husband was rushed to the hospital for congestive heart failure.” The consumer

22   reported that they had been unable to secure a refund. PLA was informed of this complaint and

23   responded on July 27, 2020.

24          41.     Another consumer reported to the BBB on May 21, 2021that the Philippine Airlines

25   “says they refunded our money in January. We never got the money. The bank never got the

26   money. [Philippine Airlines] never offers evidence of refund.” The consumer indicated that they

27   contacted the Airline on multiple occasions but that instead of issuing a refund the Airline issued “a

28   litany of hollow apologies while they continue[d] to keep my money.” PAL was informed of this


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 1   complaint and although PAL responded to the complaints directly preceding and succeeding this

 2   complaint, PAL never responded to this consumer’s complaint.

 3           42.    Another consumer reported to the BBB on August 6, 2020 that “my wife and I

 4   purchased airfare and hotel with PAL” but that “PAL cancelled our trip and never refunded the

 5   money.” The consumer stated that “we feel that we have given [PAL] ample time to refund our

 6   money and to this day we have not received any wire transfer, ACH, check or any other forms of

 7   reimbursement in any of our accounts.” The consumer then proceeded to set out the relevant

 8   timeline in support of these assertions. The consumer stated that on “March 2020, [he and his

 9   wife’s] flights were cancelled;” that on “March 28, 2020 [he received an] email refund

10   acknowledgement sent by PAL;” that on “May 9, 2020 [he] requested [an] update to refund, no

11   response;” that on “May 19, 2020 [he] requested [a] status [update];” that on “May 20, 2020 [he]

12   filed [a] claim with Chase;” that on “May 21[, 2020 the Airline] responded with still no direct

13   answer as to where the refund was;” that on “July 10, 2020, Chase denied claim” because the

14   Airline “responded and said they issued a refund;” and that on “July 11, 2020 [he] still ha[d] not

15   received any refund.” The consumer concluded that “it is very frustrating based off the first refund

16   email that the refund would be received after 30 days, then to call and be told it will take 2-3

17   months and now they are saying 5-7 months.” PAL was informed of this complaint and responded

18   on August 9, 2020.

19           43.    Another consumer reported to the BBB on August 20, 2020 that “[m]y flight was

20   cancelled by the airline and I was told that I could reschedule or request a refund.” The consumer

21   wrote that they “chose to get a refund [on] May 11, 2020.” The consumer reported that “I was told

22   at that time that it would take 4-6 weeks for my refund. It has now been 3 months since my first

23   attempt and I still have not received a refund.” The consumer further noted that “I called today . . .

24   and spoke with a representative . . . who now tells me it will take 5 months from June 12, 2020 to

25   get my refund.” The consumer concluded that “this is not fair. I am being charged interest fees

26   from my credit card everyday because they have not refunded my money back to the card like they

27   say they were going to do.” PAL was informed of this complaint and responded on August 23,

28   2020.


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 1          44.     Another consumer reported to the BBB on September 2, 2020 that PAL “has failed

 2   to refund my flight ticket within a reasonable time frame despite multiple follow-ups and cancelled

 3   flight by them.” The consumer stated that “I have been trying to receive a refund for two flight

 4   booking . . . I made directly through Philippine Airlines since last March.” The consumer wrote

 5   that “[w]hen all were cancelled by them due to COVID, I promptly followed their instructions in

 6   late March 2020, patiently, and consistently followed-up to ensure I receive my refund.” However,

 7   “after two months of no response, I received a notice that my refund was being processed on May

 8   29, 2020 and that it would take 90-days from this date . . . . The 90-days have passed and I had to

 9   follow-up multiple times against and get some response that it will not take 5 months.” The

10   consumer stated that “that is completely unacceptable and an unreasonable time to withhold a

11   refund especially during very difficult financial times.”

12          45.     Importantly, the consumer rhetorically asked, “how can I be confident that in 5

13   months they won’t just tack on another few months until I give up on getting my refund?”

14   Moreover, the consumer stated that “I am entitled to my money, as they did not provide the

15   services those flight tickets paid for. They are withholding funds that are not theirs to keep.” The

16   consumer concluded that “It is difficult for me to understand why it would take that long, when

17   another airline I booked with in March was able to refund my money in one month with no follow-

18   up required.” PAL was informed of this complaint and responded on September 16, 2020.

19          46.     Another consumer reported to the BBB on September 3, 2020 that “a refund was

20   requested for plane tickets I cancelled. Per the airline, refund was processed on [April 28, 2020].

21   As of today . . . no refund received.” The consumer stated that “I purchased 2 business class round

22   trip tickets . . . I requested tickets to be cancelled and refunded due to global pandemic.” The

23   consumer reported that “after multiple phone calls, Philippine Airlines finally confirmed

24   cancellation on [April 29, 2020] and that [a refund would be issued in] 2-3 billing cycles.” But the

25   “refund has not been received.” The consumer wrote that “after speaking to a customer service rep

26   at Philippine Airlines via phone today . . . they said refund should be expected in October or

27   November 2020.      This timeframe is unreasonable.         This is a significant amount of money.

28


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 1   Philippine Airlines needs to return the money.”        PAL was informed of this complaint and

 2   responded on September 29, 2020.

 3          47.     Another consumer reported to the BBB on September 21, 2020 that a “refund . . .

 4   was promised on [March 1, 2020] to be processed within 30 business days. It has been over 6

 5   months now without a refund.” The consumer wrote that “I was told to allow 30 business days for

 6   [the refund] to process. I have emailed PAL multiple times respectfully inquiring about the status

 7   of the refund, and each time they say ‘please wait one more month.’ It has been over 6 months

 8   now and the refund still have not been received.” PAL was informed of this complaint and

 9   although PAL responded to the consumer’s complaint immediately preceding and immediately

10   succeeding this complaint, PAL did not respond to this complaint.

11          48.     Another consumer wrote to the BBB on September 21, 2020 that “we cancelled our

12   flight to [the] Philippines due to [COVID-19]” and “we rescheduled [the flight] for June 2020.”

13   However, “the airline changed the travel date without notifying us.” Consequently, “customer

14   service gave us [the] option to hold or refund since the airline changed the flight we ha[d] a choice

15   to cancel our travel and get full refund or change the travel date with no penalty.” The consumer

16   stated that “we chose to get a refund on March 11, 2020 due to Covid 19.” But the consumer

17   concluded that the refund that PAL ultimately issued was only a partial refund. PAL was informed

18   of this complaint and responded on October 8, 2020.

19          49.     Another consumer wrote to the BB on September 23, 2020 that “[m]y flight was

20   cancelled due to COVID19. I requested a refund in April [and] it is now September and I have yet

21   to receive my refund.” The consumer wrote that “I purchased a roundtrip ticket for my son and I

22   on [March 3, 2020] scheduled to fly out in May to the Philippines.” But “the flight was cancelled

23   and rescheduled multiple times by Philippine Airlines due to COVID19.” The consumer stated

24   that “I decided to request . . . a refund and spoke with a customer service representative . . . I

25   received an email from Philippine Airlines dated [May 6, 2020] acknowledging the request for

26   refund for our tickets and that it is being processed.” The consumer that the “email stated that I

27   will receive my refund around 90 banking days or an average of 2-3 billing cycles from the date of

28   processing. On [August 4, 2020] I emailed PAL . . . to follow up on my refund. I received an Auto


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 1   response letting me know that due to high volume of emails there is a delay in response.” The

 2   consumer noted, however, that “to this day I still have not received a response to my email. [I]n

 3   the beginning of September I called PAL customer service to follow up on my refund and was told

 4   that I have not reached my 90 days and to wait. I had the customer service rep[resentative] tell me

 5   when my 90 days waiting period would end and I was told [September 14, 2020].” The consumer

 6   stated that “I called PAL customer service again on [September 14, 2020] and was told that I now

 7   had to wait at least 5 billing cycles. I requested to speak to the Supervisor . . . [who] told me that

 8   he would send a request to expedite my refund and for me to wait 24-48 hours . . . I have waited 48

 9   hours and still no refund.” PAL was informed of this complaint and responded on October 20,

10   2020.

11           50.    Another consumer reported to the BBB on September 23, 2020, asking “where is

12   our refund???” The consumer wrote that “we have been patiently waiting to get a full refund on

13   our tickets. We cancelled our flight due to the current pandemic rightfully so since Philippine

14   Airlines gave that option.” The consumer reported that PAL “said 2-3 billing cycles but it has been

15   way beyond that. We have already been in contact with their customer service by phone and email

16   to no avail. In fact one rep[resentative] would say it was processed on May 28[, 2020] while

17   another would say June[, 2020].” The consumer rhetorically asked “what is going on????!!!!!”

18   And the consumer concluded that “this is getting ridiculous!!!! We will exhaust all avenues to

19   expose these corrupt practices!!!!” PAL was informed of this complaint and responded on October

20   9, 2020.

21           51.    Another consumer reported to the BBB on October 5, 2020 that “I purchased tickets

22   for my family in March 2020 to go to the Philippines in April 2020. The airline cancelled our

23   flight due to COVID-19. I requested a refund and was told the refunds were done on April 16,

24   2020.” The consumer reported that “it has now been over 5 months and I have yet to receive a

25   refund to my credit card. I have been going back and forth . . . about the funds for months now. I

26   have called and emailed . . . a number of times and they have yet to even give me a refund status.”

27   The consumer noted that “I have asked for a confirmation that the refund has been done and have

28


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 1   received no replies. Please help.” PAL was informed of this complaint and responded on October

 2   6, 2020.

 3          52.     Another consumer wrote to the BBB on October 12, 2020 that “5 months after the

 4   airline cancelled our flight, they haven’t issue[d] us a refund. Flight scheduled for May 21[, 2020]

 5   to June 16[, 2021] . . . was cancelled by the airline and [PAL] has not refunded me.” The

 6   consumer then concluded “please refund my money.” PAL was informed of this complaint and

 7   responded on October 23, 2020.

 8          53.     Another consumer reported to the BBB on November 3, 2020 that “It [has] been 7

 9   months since [PAL] cancelled [our] flights . . . I decided to refund my ticket and 7 months after

10   they still have not returned my money.” The consumer wrote that “I am just [a] minimum wage

11   earner living paycheck to paycheck. Suffering from stress and depression because of what they

12   did.” PAL was informed of this complaint and responded on November 4, 2020.

13          54.     Another consumer reported to the BBB on November 6, 2020 that PAL “cancelled

14   [our] flight Aug[ust] 8. Called back [on] Oct[ober] 29[, 2020] . . . [the] agent assured it was

15   cancelled and I was to receive an email confirmation in 7-10 days and a refund in 5 months.”

16   However, the consumer wrote that “I called back October 29[, 2020] after months of nothing from

17   the company and they informed me they had not processed my refund and are now stating it will be

18   7-10 days from the day I receive[d] the email cancellation and 5 months from then to re[ceive] the

19   refund.” PAL was informed of this complaint and responded on November 10, 2020.

20          55.     Another consumer wrote to the BBB on November 23, 2020 that “I haven’t received

21   my refund from Philippine Airlines. I recently booked a flight [with the] Philippine Airlines. But

22   because of the pandemic, it had to be cancelled. The airline said that it may take 150 days at the

23   most from the refund initiation date (May 21, 2020).” The consumer, however, reported that “It is

24   more than 150 days now. I’m forwarding their repetitive reply [to] my email inquiries.” The

25   consumer then quoted PAL’s email: “‘Dear . . ., We sincerely apologize for the long processing

26   time that you experience. The refund process may take up to 5 months . . . from the time the

27   refund was initiated . . . Your bank will be notified once the amount has been transmitted.” PAL

28   was informed of this complaint and although PAL responded to the consumer’s complaint


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 1   immediately preceding and immediately succeeding this complaint, PAL did not respond to this

 2   complaint.

 3          56.     Another consumer reported to the BBB on December 3, 2020 that “[our] airline

 4   ticket was process[ed] 7 months ago until now still did not receive[] the refund.” The consumer

 5   stated that they “tr[ied] to email and call but [to] no avail, people are frustrated.” PAL was

 6   informed of this complaint and responded on December 13, 2020.

 7          57.     Another consumer wrote to the BBB on December 8, 2020 that “a flight refund was

 8   requested due to flight cancellation . . . . A refund was promised within 90 days. No refund

 9   received.” The consumer reported that they “promptly requested” a refund and was told “to expect

10   [the] refund within 2-3 billing cycles / 90 business days.” The consumer stated that on “August 24,

11   2020, [I] sent [an] email . . . with [the] refund reference number . . . informing them [that] 90

12   banking days have elapsed.” However, when PAL responded that the refund request “is being

13   processed and to expect an[] ADDITIONAL 90 banking days / 2-3 billing cycles before receiving

14   the refund.” The consumer stated that they sent an additional email on October 19, 2020 and again

15   on November 26, 2020 but “no refund received.” But instead of issuing the refund as promised,

16   PAL “state[d] they are still processing the request. Escalated request and spoke with . . . supervisor

17   . . . who states [the refund] is still being processed by the refunds department. I had requested to

18   speak with the refunds department however they state it is internal and they cannot transfer the

19   call.” The consumer concluded that PAL’s conduct “is illegal and unethical.” PAL was informed

20   of this complaint and responded on December 21, 2020.

21          58.     Another consumer reported to the BBB on December 17, 2020 that “I am a disabled

22   vet[eran] living on a fixed income. I purchased a business class ticket so that I could lay down

23   because of medical issues on such a long flight.” The consumer wrote that “I . . . have not received

24   my voucher refund as promised.” The consumer stated that the Philippine Airlines “changed the

25   day of our flight” and “I cancelled [my ticket] because the operator I spoke with said I could get a

26   voucher refund in 7-15 business days. I thought I could easily rebook another flight.” But this was

27   not the case. PAL was informed of this complaint and responded on December 29, 2020.

28


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 1          59.     Another consumer wrote to the BBB on December 17, 2020 that “I have not

 2   received my refund yet from Philippine Airlines! My dad ha[d] a flight April 8-28[, 2020] to the

 3   Philippines and due to COVID-19 PAL cancelled his flight March 23[, 2020].” The consumer

 4   reported that “when PAL cancelled [in] March, I remember I waited in the line for 3 long hours

 5   just to let PAL know that I wanted a refund for that ticket. The agent who helped me, told me that

 6   they will be processed already. And it will take 3 billing cycles or 90 banking days to get the

 7   refund.” The consumer reported that they received an email from PAL on April 5, 2020 informing

 8   them that “if you convert your ticket to a Travel Voucher you will receive the full unused value of

 9   your ticket plus an additional 10% of the value.” The consumer wrote “I did not want that. I spoke

10   to them clearly that I was a refund! There was an option for me at the end of this email to

11   reconfirm I want my refund.” The consumer stated that on April 22, 2020 “I got another email

12   [from PAL] . . . asking the same thing! I [responded] that I have already confirmed that I wanted a

13   refund!” The next day the consumer received a reply email stating that “We will process the

14   refund and it will be credit back to your credit card.” The consumer stated that they follow up with

15   PAL on September 16, 2020 but received a response stating that “upon checking on the record, the

16   refund has been processed on our end last May 18, 2020” but that “there may be some delay in the

17   transmittal of the refunds. The amount will be credited back to the account used in the booking at

18   around 150 banking days.” The consumer wrote “Now they’re saying ‘150 banking days.’ What

19   type of business would make their consumer expect 90-banking days and would change to 150

20   banking days?”

21          60.     The consumer reported that they followed up with PAL on October 6, 2020 and

22   received a similar response asking for the consumer’s patience. The consumer then followed up on

23   October 27, 2020 and received another similar response requesting that the consumer remain

24   patient. The consumer reported that “[t]his is unacceptable. See how they handle the situation. Its

25   December now and I have not got a refund from them aside from their unstoppable waiting

26   cycles.” PAL was informed of this consumer’s complaint and responded on December 29, 2020.

27          61.     Another consumer reported to the BBB on January 25, 2021 that PAL “is not

28   refunding fare for flight cancelled by them. I have been waiting for refund for over 6 months.”


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 1   The consumer explained that “I purchased flight ticket for my daughter and me last year (2019) my

 2   flight was to be on June 2020 [but the] flight was cancelled due to COVID-19 by them [because]

 3   they could not fly on the dates purchased.” As a result, PAL “rescheduled the flight with dates

 4   provided by them. I was told by them if I did not fly on those dates I could either get vouchers or a

 5   refund. I chose a full refund, [and it] was indicated that [the] refund would take 90 days.” The

 6   consumer wrote that “after 90 days I still had not received a refund so I called to inquire about it

 7   and was told another 30 days would be needed for the refund. It has been the [same] story since

 8   then.” The consumer wrote that “Now every time I call to inquire they tell me their system is being

 9   updated and no one wants to talk with me. They place me on hold and eventually the call is

10   disconnected. Request to escalate to supervisor [and] they say [the] supervisor will call, so far no

11   call received.” The consumer concluded that “they are giving the impression that they will steal

12   my flight fare and my bank tried to contact them but they also do not respond to them.” PAL was

13   informed of this complaint and responded on January 27, noting that “we . . . [are unable] to verify

14   the passenger record . . . . We also hope to be given more time to file our response.”

15           62.     Another consumer reported to the BBB on February 23, 2021 that “my flights (wife

16   and I) were cancelled doe to the pandemic. I was advised multiple times I’d be refunded. No

17   refund still. I’ve been waiting for a refund . . . but there is still no refund. In fact, I’ve been told on

18   multiple occasions that a request would be expedited and nothing happens.” The consumer wrote

19   that PAL “ha[s] the audacity to tell me it takes 5 months to receive a refund. Hilariously, 10

20   months later and still there’s no refund for the cancelled flight. At this point, I don’t know what to

21   do. I’ve sent out several emails trying to get a refund with no luck.” The consumer stated that

22   “every email has the same generic templated attached stating they are going to expedite the request.

23   I haven’t seen any follow-up regarding any expedite submitted on my behalf.” The consumer also

24   wrote that “Even on today’s call, I advised I’d be willing to wait on the line for them to send me an

25   email confirmation of this supposed expedited request for a refund, and again nothing happens.”

26   The consumer concluded that “You can simply look at their Facebook page and see that there’s still

27   hundreds of people who haven’t received their refund back.” PAL was informed of this complaint

28   and responded on March 9, 2021.


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 1          63.     Another consumer wrote to the BBB on February 24, 2021 that “PAL sent me a

 2   confirmation . . . for my refund on [May 14, 2020] sa[ying] 30-60 days until refund” but “no refund

 3   yet.” The consumer explained that on April 25, 2020, “PAL sent me a[n] email saying my flight

 4   has been cancelled due to COVID-19, I then request a refund . . . [and] received a confirmation [of]

 5   cancellation . . . saying I would receive my refund around 90 banking says or 2-3 billing cycles.”

 6   The consumer stated that “on [October 14, 2020] I called them again and I wasn’t able to be

 7   connected to anyone who could help . . . I still have not received my refund.” PAL was informed

 8   of this complaint and responded on March 10, 2021.

 9          64.     Another consumer reported to the BBB on February 25, 2021 that they have been

10   “awaiting [a] refund for over 7 months now . . . Been calling company twice a month but I get the

11   same information. Have talked to multiple supervisors but still no resolution. An email was sent

12   to me from company [on] June 2, 2020 acknowledg[ing] [the] refund within 90 banking days or 2-

13   3 billing cycles.” The consumer stated that they sent another email to PAL “on January 14, 20201

14   which I haven’t heard back from them yet. I’ve mentioned that these are hard times [and] that I’m

15   in need of that refund because I’m still paying my credit card company just to avoid delinquent

16   notices . . . . I’m exhausted calling them [and] nothing is getting resolved.” PAL was informed of

17   this complaint and responded on March 11, 2021.

18          65.     Another consumer wrote to the BBB on March 1, 2021 that “[I have] been waiting

19   for my refund for almost 10 months now. They informed me to wait for 6 billing cycle[s] but

20   nothing happened after the 6 billing cycles.” The consumer described that “I purchased my ticket

21   last April 2020 but it got cancelled. I requested a refund after that but they informed me that they

22   didn’t receive any request.” The consumer concluded that “I want my long overdue refund.” PAL

23   was informed of this complaint and responded on March 16, 2021.

24          66.     Another consumer reported to the BBB on March 2, 2021 that “our family flight . . .

25   to the Philippines was cancelled . . . and I am still waiting for a refund. My 3 children and I were

26   scheduled to go” but “I received an email . . . cancelling our flight.” The consumer reported that “I

27   called several times and I was told to wait for 5 billing cycles. I also emailed.” The consumer

28


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 1   concluded that “I would like a refund for my ticket . . . I have been patient . . . I would just like this

 2   matter resolved.”

 3          67.     Another consumer reported to the BBB on March 2, 2021 that “I had tickets for a

 4   flight during summer . . . which were cancelled due to COVID. They confirmed they would refund

 5   the money and they have not . . . Numerous communications indicated they would be issuing a

 6   refund. The date for the refund kept getting push[ed] out.” The consumer concluded that they

 7   would like their “full refund of [the] ticket amount.” PAL was informed of this complaint and

 8   responded on March 16, 2021.

 9          68.     Another consumer wrote to the BBB that “I purchase[d] a ticket from Philippine

10   Airlines and I requested a refund several times but have not received any refund.” The consumer

11   stated that “I have called the airlines numerous times since I purchased the [ticket] and it was to be

12   refunded” but “then the refund time frame was extended.” The consumer then wrote that “I called

13   again today to find out the status of my refund and I was informed they HAVE NO RECORD OF

14   MY RESERVATION.” (emphasis in original). PAL was informed of this and responded on March

15   15, 20212 nothing that “the complaint and link do not mention the ticket number.”

16          69.     Another consumer reported to the BBB on March 22, 2021 that “I still haven’t

17   received my refund. It’s officially been one entire year since I put in my initial request for a

18   refund. I still have not been refunded and have been given no information that confirms I’ll be

19   refunded.” PAL was informed of this consumer’s complaint, but PAL did not respond.

20          70.     Another consumer complained to the BBB that “I purchased a ticket from Philippine

21   Airlines last summer, 2020. The flight was for September and by early August they had cancelled

22   the flight. I properly filled out the refund request and submitted it August 11, 2020.” The

23   consumer wrote that “they assured me it would take five months or less to refund the money back

24   to my account. Still to this day, over seven months from my refund request, they still are not

25   giving me an answer as to when it will be.” The consumer wrote that “I’ve seen online forums

26   with people saying they’ve been waiting over 12 months!” The consumer concluded that “I

27   strongly believe they have no intention of paying anybody back and are going to declare

28   bankruptcy. What can I do? Right now $900 is a lot of money to me and they have been making


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 1   interest off it for over seven months now.” PAL was informed of this complaint and responded on

 2   April 5, 2021 and “request[ed] to be given further time to file our reply.”

 3          71.     Another consumer complaint to the BBB on March 31, 2021 that PAL “cancelled

 4   my flight due to COVID. I requested a refund and [PAL] stated it would take 5 months to process,

 5   after 5 months nothing was refunded. I called [PAL] and they told me to wait for 4 weeks, called

 6   again and told to wait another 4 weeks.” The consumer stated that “I called every week to follow

 7   up but just keep being told to wait another week. I emailed them multiple times as well. Flight

 8   was cancelled back in April 2020.” PAL was informed of this complaint and responded on April

 9   13, 2021.

10          72.     Another consumer reported to the BBB on April 2, 2021 that “my refund was

11   processed [the] first week of August 2020 and they asked for up to 5 months to get it back. But

12   unfortunately until now I never got anything. I’m constantly following up [with] their [customer

13   service] but all they can say is they can’t do anything because it’s already [in] their finance

14   department’s hand.” PAL was informed of this complaint and responded on April 4, 2021.

15          73.     Another consumer reported to the BBB on April 15, 2021 that “my flight [March,

16   2020] was cancelled due to the pandemic and PAL emailed me on [April 23, 2020] that they

17   processed my refund of $779.42 and to wait for 90 banking days.” The consumer wrote that “I was

18   patient and understanding because of the pandemic so I didn’t follow up and call again until

19   [November 24, 2020]. I was told 10 business days and still nothing.” The consumer reported that

20   “I called [December 16, 2020]. I was told they can’t do / see anything because it is now being

21   processed by the treasury department of PAL and its internal. On the same day, I sent them an

22   email, I was told that it’s being refunded and they sen[t] me a refund certificate. But there was

23   nothing again.” The consumer wrote that “I emailed [February 19, 2021] [and] they said they

24   submitted a request to be expedited and [to] expect [it] in 30 working days. And now . . . still

25   nothing.” The consumer concluded that “following up with calls and emails is getting stressful. I

26   believe I’ve given enough time, and was very patient. But almost a year is unacceptable and all I

27   keep getting are reasons and time frames.” PAL was informed of this consumer’s complaint and

28   responded on April 15, 2021.


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 1                Additional Complaints Confirming Excuse Of Any Conditions Precedent

 2          74.     As the complaints set out above demonstrate, PAL systematically prevented

 3   consumers from performing any conditions precedent to receiving a full refund for their cost of

 4   their tickets. But these are not all of the known complaints. Websites have emerged providing

 5   consumers with an additional outlet to publicly register their complaints against PAL. One of these

 6   websites, Airlines Inform, has registered dozens of consumers further attesting to the problems

 7   described above. Many of these are included below.

 8          75.     On March 4, 2021 one consumer reported to Airlines Inform that “we bought 3

 9   tickets and 1 other plane ticket last year in February 2020 because my father passed away. I called

10   [PAL] 3 times on separate occasions and ended up on promises of a refund. It is almost a year

11   now.” The consumer reported that “I couldn’t take this anymore so I am finding a way to connect

12   with other passengers with the same plight as we are as to the next move we should be taking. I am

13   already hopeless with [PAL’s] promises.”

14          76.     On March 10, 2021 another consumer wrote “report this airline . . . for not

15   refunding the money that took months and years just to be refunded. The more complaints to the

16   U.S. . . . government about them will show that they are really not doing what they should be

17   doing.” The consumer wrote “those people who bought [PAL] ticket[s] probably are having heart

18   attack[s] because of worrying too much, health problems due to the long wait of the promised

19   refund which they have not idea at this time people need the money and [PAL is] holding back.”

20   The consumer further stated that “according to their policy refunds take 5 months. It shouldn’t

21   take years for them to return the money. They ignored their costumers who paid them . . . . They

22   don’t care. They have no concern [and are] unwilling to do it right away to return the money . . . .

23   Emails get ignored [and] phone calls [are] unhelpful.”

24          77.     On March 12, 2021, another consumer wrote “I cancelled my round-trip ticket to the

25   Philippines from LAX in August 2020. Now mid-March I still don’t have my refund. I wasn’t

26   concerned until I saw all these other posts. I’m feeling I have many more months to go. Shame on

27   you Philippine Airlines. Stop making interest off of our money!”

28


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 1          78.     On March 12, 2021, another consumer wrote “if only I booked one . . . ticket for

 2   what $600-700.00 I can just forgive and save myself the heart attack, stress and anxiety of dealing

 3   – begging with them . . . . The thing is its around $5000.00.” The consumer stated that “that is

 4   hard to come around these days especially for people who got furloughed and lost their jobs . . . .

 5   They deserve[] to be sued.”

 6          79.     On March 16, 2021, another consumer wrote “Guys, has anyone received their

 7   refunds lately? Our flight was cancelled in June 2020 and we are still waiting.”

 8          80.     On March 18, 2021, another consumer wrote “my flight got cancelled in mid-May

 9   and refund acknowledgement on the day itself but the approval was processed only in early July. I

10   have been chasing them since then. Initially refund was by 3 billing cycles, then 5 months, then 5

11   months excluding weekends and holidays.” The consumer wrote that “it takes about 4 or 5 emails

12   to get an answer but the answers make one sick. Purchased the tickets [at the] end [of] Dec[ember]

13   2019, 8 months have passed since approval of refund in early July and 10 months since

14   acknowledgement.”

15          81.     On March 20, 2021 another consumer wrote “deal with your credit card [company]

16   if you are based in the U.S. I’ve been given a run around for 14 months whenever I call and email

17   so its useless to deal with PAL directly.”

18          82.     On March 26, 2021, another consumer wrote “PAL cancelled my flight last August

19   2020 and the refund would take 5 billing cycles or 5 months. Until now almost 9 months [and] still

20   they [have not] return[ed] my money and the worse is they don’t even update you regarding it.”

21   The consumer wrote “I called them many times and spoke to different people [and] they always

22   give me false hope that it will be in my account the next billing cycle.”

23          83.     On April 5, 2021, another consumer wrote “sounds like PAL is doing this to

24   countless customers . . . they cancelled our flights in March 2020. I have called PAL [and] I have

25   countless emails to PAL (save those) as well as calling the credit card company . . . all to no avail.”

26   The consumer further stated that “there is no way I am letting them keep our money . . . think about

27   how many customers they have done this to . . . all interest free . . . keep fighting for your money.”

28


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 1          84.     On April 9, 2021, another consumer wrote “I bought tickets for my family (4

 2   people) in December 2019 for [a] getaway in [the] Philippines in July 2020. PAL cancelled the

 3   flight in June. I opted for a full refund at that time. I was told I would get it in 3 months. Then it

 4   was extended to give 5 months.” The consumer wrote that “I’ve called PAL and emailed them

 5   many times but I keep getting the runaround that the delay is due to the pandemic. I even sought

 6   the help of the Civil Aeronautics Board . . . nothing helped. In February of this year I was refunded

 7   for only 1 ticket even though I provided information for all 4 passengers.”           The consumer

 8   concluded that “now I’m worried it may take a very long time, or maybe never will I get the other

 9   party of that refund.”

10          85.     On April 13, 2021, another consumer wrote “PAL assigned a refund reference

11   number on June 11, 2020 after 2 weeks of my refund request. They said it will take 90 banking

12   days or an average of 2-3 billing cycles from the date of processing. I started sending them follow-

13   up emails after the 90-day period.” The consumer wrote that PAL “replied, saying this time it may

14   take 5 months . . . alright I waited 5 months, no refund . . . every month there[after], I kept

15   bombarding them with emails, same reply.” The consumer reported that “it’s now past 10 months

16   and nothing with over 15 follow-up emails.”

17          86.     On April 19, 2021, another consumer wrote “a refund for one ticket maybe they’ll

18   think that should shut you up for now. [But] I have 11 family members for domestic flights . . .

19   PAL still owes me over $3000.”

20          87.     On April 20, 2021, another consumer wrote “I was told 5 months or 5 billing cycles,

21   from last July to refund my ticket that was purchased in December 2019 – flight cancelled in late

22   March 2020 because of COVID. Today I called again and she said it was processed on January

23   21[, 2021] and within 5 billing cycles I will get a refund.”

24          88.     On April 25, 2021, another consumer wrote “I’m all for class action suit. Requested

25   refund in May 2020 for cancelled flight. They said wait 3 months, then nothing. They said wait up

26   to 5 months, nothing. In January, I called again . . . [they] promised 30 days. Never came.” The

27   consumer also noted that they “sent an email to refund office, complaint to customer service, and

28   complaint to Department of Transportation. DOT replied sadly saying they could not assist me


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 1   because flight were not in U.S., but forwarded my complaint to PAL customer service . . . I got a

 2   reply from PAL [which was] the same response from Wednesday.” The consumer concluded that

 3   PAL is “doing whatever is takes to not refund people what is due to them.”

 4             89.   PAL also knew or should have known about these and other complaints. Online

 5   reputation management (commonly called “ORM” for short), is now a standard business practice

 6   among most major companies and entails monitoring consumer forums, social media, and other

 7   sources on the internet where consumers can review or comment on particular companies.

 8   “Specifically, [online] reputation management involves the monitoring of the reputation of an

 9   individual or a brand on the internet, addressing content which is potentially damaging to it, and

10   using customer feedback to try to solve problems before the damage to the individual’s or brand’s

11   reputation.”7 Many companies offer ORM consulting services for businesses.

12             90.   Like most companies, PAL presumably cares about their reputation and regularly

13   monitors on-line consumer reviews because they provide valuable data regarding customer

14   satisfaction and marketing analytics.    Reviews like those copies above would be particularly

15   attention-grabbing for PAL’s management because extreme reviews are sometimes the result of

16   extreme problems, and – just like any other company – PAL is presumably sensitive to the

17   reputational impact of negative online reviews. Hence, PAL’s management knew or should have

18   known about the above-referenced consumer complaints shortly after each complaint was posted

19   online.

20             91.   The fact that so many consumers made similar complaints about the same issue

21   indicates that the complaints were not isolated incidents. These complaints were similar enough to

22   put PAL’s management on notice that consumers had yet to receive their refunds despite waiting

23   for the amount of time PAL requested.

24                                        CLASS ALLEGATIONS

25             92.   Plaintiff seeks to represent a Class defined as all persons in the United States who

26   purchased tickets for travel on a Philippine Airlines flight scheduled to operate to, from, or within

27
     7
       WebSolutions Main, “Online Reputation,” Available at https://websolutions-maine.com/online-
28   reputation/ (last visited March 15, 2021).


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 1   the United States whose flights were cancelled or were subject to a significant schedule change and

 2   not refunded.

 3          93.      Subject to additional information obtained through further investigation and

 4   discovery, the foregoing definitions of the Class may be expanded or narrowed through amendment

 5   to the complaint or narrowed at class certification.

 6          94.      Specifically excluded from the Class are PAL, PAL’s officers, directors, agents,

 7   trustees, parents, children, corporations, trusts, representatives, employees, principals, servants,

 8   partners, joint ventures, or entities controlled by PAL, and their heirs successors, assigns, or other

 9   persons or entities related to or affiliated with PAL, the judge assigned to this action, and any

10   member of the judge’s immediate family.

11          95.      Numerosity. The members of the proposed Class are geographically dispersed

12   throughout the United States and are so numerous that individual joinder is impracticable. Upon

13   information and belief, Plaintiff reasonably estimates that there are hundreds of thousands of

14   individuals that are members of the proposed Class. Although the precise number of proposed

15   members is unknown to Plaintiff, the true number of members of the Class is known by PAL.

16   Members of the Class may be notified of the pendency of this action by mail and/or publication

17   through PAL’s distribution records.

18          96.      Typicality. The claims of the representative Plaintiff are typical of the claims of the

19   Class. The representative Plaintiff, like all members of the Classes, paid for a PAL flight that was

20   subjected to a significant schedule change and was not refunded for the cancelled flight or for any

21   consequential damages and cancelations caused by the original cancelled flight. The representative

22   Plaintiff, like all members of the Class, has been damaged by PAL’s misconduct in the very same

23   way as the members of the Class. Moreover, the factual bases of Defendant’s misconduct are

24   common to all members of the Class and represent a common thread of misconduct resulting in

25   injury to all members of the Class.

26          97.      Existence and Predominance of Common Questions of Law and Fact. Common

27   questions of law and fact exist as to all members of the Classes and predominate over any

28


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 1   questions affecting only individual members of the Class.           These common legal and factual

 2   questions include, but are not limited to, the following:

 3                 a. Whether PAL failed to refund purchasers of cancelled flights and the consequential
 4                    damages resulting therefrom;

 5                 b. Whether Philippine Airlines violated the terms of its Contract of Carriage;

 6                 c. Whether Plaintiff and the Classes are entitled to damages, restitution, equitable,
                      injunctive, compulsory, or other relief.
 7
             98.      Adequacy of Representation.        Plaintiff will fairly and adequately protect the
 8
     interests of the Class. Plaintiff has retained counsel who are highly experienced in complex
 9
     consumer class action litigation, and Plaintiff intends to vigorously prosecute this action on behalf
10
     of the Class. Plaintiff has no interests that are adverse to those of the Class.
11
             99.        Superiority. The class mechanism is superior to other available means for the fair
12
     and efficient adjudication of the claims of Class Members. Each individual Class Member may
13
     lack the resources to undergo the burden and expense of individual prosecution of the complex and
14
     extensive litigation necessary to establish PAL’s liability. Individualized litigation increases the
15
     delay and expense to all parties and multiplies the burden on the judicial system presented by the
16
     complex legal and factual issues of this case. Individualized litigation also presents a potential for
17
     inconsistent and contradictory judgments. In contrast, the class action device presents far fewer
18
     management difficulties and provides the benefits of single adjudication, economy of scale, and
19
     comprehensive supervision by a single court on the issue of PAL’s liability. Class treatment of the
20
     liability issues will ensure that all claims and claimants are before this Court for consistent
21
     adjudication of issues related to liability.
22                                                 COUNT I
23                                             Breach of Contract
             100.     Plaintiff reincorporates and realleges each preceding paragraph herein.
24
             101.     Plaintiff brings this claim on behalf of herself and members of the Class.
25
             102.     Defendants entered into contracts with Plaintiff and members of the Class through
26
     their Contract of Carriage.
27
             103.     PAL’s Contract of Carriage provides for refunds in the event of involuntary
28


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 1   cancellations, such as those arising from the coronavirus pandemic: “[i]f PAL cancels a flight, or

 2   fails to operate a flight reasonably according to schedule, or fails to stop at a point to which you

 3   were destined or ticketed to Stopover, or is unable to provide previously confirmed space, the

 4   amount of the refund shall be subject to these Conditions of Carriage”

 5            104.   PAL’s Contract of Carriage also provides for refunds arising from voluntary

 6   cancellations: “[i]f you are entitled to a refund of your Ticket or any of its unused portion,

 7   including taxes, fees, or any other amount collected for or on behalf of any third party, for reasons

 8   other than those set out in Section 3 of this Article, the amount of the refund shall be in accordance

 9   with PAL’s Tariffs.”

10            105.   Plaintiff and members of the Class performed their portion of the bargain by paying

11   the airline ticket fees for the flight before they were cancelled.

12            106.   For the reasons set forth above, PAL frustrated any condition precedent to Plaintiff

13   and Class Members receiving a refund because PAL left Plaintiff on hold for extended periods of

14   time and failed to respond to emails sent inquiring about the status of Plaintiff’s refund.

15            107.   PAL has breached these contracts by retaining Plaintiff’s and Class members’

16   airline ticket fees while not providing flight services, in violation if their Contract of Carriage.

17            108.   Plaintiff and Class members have suffered an injury through the payment of money

18   for tickets while not receiving services in return.

19            109.   Plaintiff and Class members have also suffered injury through PAL’s unreasonable

20   delay in issuing refunds, thus depriving Plaintiff and Class members the time value of their money.

21   Essentially, PAL have unjustly gained an interest-free loan through dilatory tactics and refusal to

22   honor their refund policy.

23            110.   PAL has also frustrated its passengers’ ability to request refunds, as demonstrated

24   above.

25            111.   Plaintiff and Class members are entitled to damages for PAL’s breach of their

26   Contract of Carriage, or in the alternative, to rescission of the Contract of Carriage.

27

28


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 1                                               COUNT II
                                              Unjust Enrichment
 2
              112.   Plaintiff reincorporates and realleges each preceding paragraph herein. This claim
 3
     is brought in the alternative to the contract-based cause of action.
 4
              113.   Plaintiff brings this claim on behalf of herself and members of the Class.
 5
              114.   Plaintiff and the Class conferred benefits on Defendants by purchasing airline
 6
     tickets with PAL.
 7
              115.   Defendants have been unjustly enriched in retaining the revenues derived from
 8
     Plaintiff and Class Members’ purchase of airline tickets, where they have subsequently canceled or
 9
     significantly changed the schedule for Class Members’ flights and have not issued a refund.
10
     Retention of those moneys under these circumstances is unjust and inequitable because
11
     Defendants’ failure to issue refunds is in violation of their Contract of Carriage, and is in violation
12
     of California law. These acts and omissions caused injuries to Plaintiff and the Class because they
13
     would not have purchased their arline tickets at all, or on the same terms, if the true facts were
14
     known.
15
              116.   Because Defendants’ retention of the non-gratuitous benefits conferred on them by
16
     Plaintiff and the Class is unjust and inequitable, Defendants must pay restitution to Plaintiff and the
17
     Class for their unjust enrichment, as ordered by the Court.
18
                                                  COUNT III
19                                                  Fraud

20            117.   Plaintiff reincorporates and realleges each preceding paragraph herein.

21            118.   Plaintiff brings this claim on behalf of herself and members of the Class.

22            119.   As discussed above, Defendants provided Plaintiff and Class members with false or

23   misleading material information and failed to disclose material facts about how they process

24   refunds, contrary to the representations found in the Contract of Carriage.                     These

25   misrepresentations and omissions were made by Defendants with knowledge of their falsehood.

26            120.   The misrepresentations and omissions made by Defendants, upon which Plaintiff

27   and Class members reasonably and justifiably relied, were intended to induce and actually induced

28   Plaintiff and Class members to purchase their airline tickets.


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 1           121.     The fraudulent actions of Defendants caused damage to Plaintiff and the members

 2   of the Class, who are entitled to damages and other legal and equitable relief as a result.

 3                                             PRAYER FOR RELIEF

 4           WHEREFORE, Plaintiff respectfully requests, individually and on behalf of the alleged

 5   Class, that the Court enter judgment in their favor and against PAL as follows:

 6           a) An Order certifying the proposed Class and appointing Plaintiff and her Counsel to

 7                represent the Class;

 8           b) An Order requiring PAL to immediately issue refunds to Plaintiff and Class members

 9                for the cost of the cancelled tickets, any cancellation fees, and consequential damages

10                resulting therefrom;

11           c) An Order of disgorgement of wrongfully obtained profits;

12           d) An award of compensatory damages, in an amount to be determined;

13           e) An award of reasonable attorneys’ fees, cost and litigation expenses, as allowable by

14                law;

15           f) Interest on all amounts awarded, as allowed by law; and

16           g) Such other and further relief as this Court may deem just and proper.

17                                          JURY TRIAL DEMANDED

18           Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of any and

19   all issues in this action so triable as of right.

20

21

22   Dated: April 12, 2022                               Respectfully submitted,

23                                                       BURSOR & FISHER, P.A.
24                                                       By:       /s/ Neal J. Deckant
                                                                       Neal J. Deckant
25
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28


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